                  Case 1:06-cr-00137-RWS-ECS Document 385 Filed 07/24/08 Page 1 of 6




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


                                                      :
                                                      :
             UNITED STATES OF AMERICA,                :
                                                      :
                            Plaintiff,                :    CRIMINAL ACTION NO.
                                                      :    1:06-CV-0137-005-RWS
                      v.                              :
                                                      :
             EDWIN C. PARKER,                         :
                                                      :
                            Defendant.                :




                                                   ORDER

                      This case comes before the Court on Defendant’s “Petition for Writ of

             Habeas Corpus” [382], Defendant’s Motion for Extension of Time [383], and

             Defendant’s Motion for Production of Records and Transcripts [384]. After

             reviewing the record, the Court enters the following Order.

             I.       Defendant’s “Petition for Writ of Habeas Corpus” and Motion for
                      Extension of Time

                      Defendant has filed two motions seeking to extend the one-year statute of




AO 72A
(Rev.8/82)
               Case 1:06-cr-00137-RWS-ECS Document 385 Filed 07/24/08 Page 2 of 6




             limitations1 applicable to filing a motion to vacate pursuant to 28 U.S.C. § 2255.

             The first, although phrased as a “Petition for Writ of Habeas Corpus” [382],

             seeks only an extension of time; Defendant does not allege any claim for relief

             under 28 U.S.C. § 2255. The second Motion seeks the same relief [383].

                    This Court presently lacks jurisdiction to extend the one-year statutory

             deadline for filing a motion pursuant to 28 U.S.C. § 2255. United States v.

             McFarland, 125 F. App’x 573, 574 (5th Cir. 2005); United States v. Leon, 203

             F.3d 162, 163 (2d Cir. 2000); United States v. Backhoff, Nos. 3:05cr24/LAC,

             3:06cv248/LAC/MD, 2006 WL 2382176, at *1 (N.D. Fla. Aug. 17, 2006).

             Although there are extremely limited circumstances under which a Court may


                    1
                         The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”)
             provides, inter alia, that a habeas petition may not be filed more than one year from “the
             date on which the judgment of conviction becomes final.” 28 U.S.C. § 2255(1) (emphasis
             added). A judgment of conviction becomes final within the meaning of § 2255 as
             follows: “(1) if the prisoner files a timely petition for certiorari, the judgment becomes
             ‘final’ on the date on which the Supreme Court issues a decision on the merits or denies
             certiorari, or (2) the judgment becomes ‘final’ on the date on which the defendant’s time
             for filing such a petition expires.” Kaufmann v. United States, 282 F.3d 1336, 1339-40
             (11th Cir. 2002) (emphasis added).
                     Here, Defendant filed a direct appeal of his judgment of conviction. His appeal
             was dismissed by the United States Court of Appeals on February 14, 2008. Because
             Petitioner had 90 days from the time his appeal was denied to file a writ of certiorari with
             the United States Supreme Court, his judgment of conviction became final upon the
             expiration of that 90 days. See Clay v. United States, 537 U.S. 522, 525, 123 S. Ct. 1072,
             155 L. Ed. 2d 88 (2003). His deadline for filing a § 2255 Motion is therefore one year
             after the expiration of those ninety days.

                                                          2




AO 72A
(Rev.8/82)
              Case 1:06-cr-00137-RWS-ECS Document 385 Filed 07/24/08 Page 3 of 6




             extend the time for filing a § 2255 Motion, the Court may only do so after an

             actual § 2255 motion has been filed. Green v. United States, 260 F.3d 78, 82-

             83 (2d Cir. 2001) (“[A] district court may grant an extension of time to file a

             motion pursuant to section 2255 only if (1) the moving party requests the

             extension upon or after filing an actual section 2255 motion, and (2) ‘rare and

             exceptional’ circumstances warrant equitably tolling the limitations period.”)

             (emphasis added). Without the filing of a substantive § 2255 Motion, the Court

             is without jurisdiction to consider its timeliness or any grounds for equitable

             tolling. Id. at 82 (“Prior to an actual filing [of a § 2255 motion], there is no case

             or controversy to be heard, and any opinion we were to render on the timeliness

             issue would be merely advisory.”) (citations and quotations omitted).

                   Here, Defendant has not filed a substantive § 2255 Motion, and it would

             be inappropriate for the Court to construe Defendant’s Motion styled as a

             “Petition for Writ of Habeas Corpus” as a substantive § 2255 Motion. It does

             not articulate any basis in fact or law for relief pursuant to § 2255. See id., 260

             F.3d at 84 (holding that “because Green had not articulated any basis in fact or

             in law for relief under section 2255, the district court did not err by failing to

             treat his motion to extend time as a substantive section 2255 motion”). To

                                                       3




AO 72A
(Rev.8/82)
               Case 1:06-cr-00137-RWS-ECS Document 385 Filed 07/24/08 Page 4 of 6




             correct any confusion on the docket, the Clerk is therefore DIRECTED to

             recharacterize the Motion filed at Docket No. 382 as a “Motion for Extension of

             Time.” Because the Court is without jurisdiction to extend the one-year

             deadline for filing a § 2255 motion, Defendant’s Motions for Extension of Time

             [382, 383] are DENIED.2

             II.   Motion for Production of Records and Transcripts [384]

                   Defendant moves for copies of all pretrial motions and all pretrial and

             trial transcripts in this action. A review of the docket reflects no pretrial

             motions filed on behalf of Defendant. However, the Clerk shall provide

             Defendant a copy of the docket sheet for his case so that he might review it and

             specifically request any documents needed in connection with his Section 2255

             motion.

                    Insofar as Defendant moves for copies of transcripts, Defendant’s

             Motion is DENIED because Defendant has failed to demonstrate that any such

             transcript “is needed to decide the issue presented by the suit or appeal.” 28



                   2
                     Because the Court does not construe is self-titled “Petition for Writ of Habeas
             Corpus” as a Motion to Vacate pursuant to 28 U.S.C. § 2255, Defendant is cautioned that
             he must still file a substantive § 2255 motion within the AEDPA’s one-year deadline to
             preserve any remedies he may have under 28 U.S.C. § 2255.

                                                       4




AO 72A
(Rev.8/82)
               Case 1:06-cr-00137-RWS-ECS Document 385 Filed 07/24/08 Page 5 of 6




             U.S.C. § 753(f) (“Fees for transcripts furnished in proceedings brought under

             section 2255 of this title to persons permitted to sue or appeal in forma pauperis

             shall be paid by the United States out of money appropriated for that purpose if

             the trial judge or a circuit judge certifies that the suit or appeal is not frivolous

             and that the transcript is needed to decide the issue presented by the suit or

             appeal.”).3

                                                   Conclusion

                    For the reasons provided above, the Clerk is DIRECTED to

             recharacterize the Motion filed at Docket No. 382 as a “Motion for Extension of

             Time.” Because the Court is without jurisdiction to extend the time for filing a

             Section 2255 Motion, Defendant’s Motions for Extension of Time [382, 383]

             are DENIED.

                    Defendant’s Motion to Produce Records and Transcripts [384] is

             DENIED. However, the Clerk is DIRECTED to provide Defendant with a

             copy of the docket sheet for his case so that he can specifically request any

             documents necessary for him to pursue his Section 2255 motion.


                    3
                     As the Court noted in its January 2, 2008 Order [349], a transcript of Defendant’s
             sentencing was provided to his counsel. Defendant may seek the copy from his former
             attorney.

                                                         5




AO 72A
(Rev.8/82)
             Case 1:06-cr-00137-RWS-ECS Document 385 Filed 07/24/08 Page 6 of 6




                 SO ORDERED this 24th day of July, 2008.




                                              RICHARD W. STORY
                                              UNITED STATES DISTRICT JUDGE




                                              6




AO 72A
(Rev.8/82)
